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                                 UNITED STATES DISTRICT COURT
10
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION

12
     Esteban ALEMAN GONZALEZ,                             Case No. 3:18-CV-01869-JSC
13   Jose Eduardo GUTIERREZ SANCHEZ,
                                                          REPLY IN SUPPORT OF MOTION FOR
14                                                        PRELIMINARY INJUNCTION
     Plaintiffs-Petitioners,
15
     v.
16
     Jefferson B. SESSIONS, Attorney General,             Date: May 31, 2018
17                                                        Time: 9:00 a.m.
     Department of Justice; Kirstjen NIELSEN,             Place: 15th Floor, Courtroom F
18   Secretary, Department of Homeland Security;
     James McHENRY, Director, Executive Office            Before: Hon. Jacqueline Scott Corley
19   for Immigration Review, Department of
     Justice; MaryBeth KELLER, Chief
20   Immigration Judge, Executive Office for
     Immigration Review, Department of Justice;
21   Erik BONNER, Acting Field Office Director
     for the San Francisco Field Office of
22   Immigrations and Customs Enforcement,
     Department of Homeland Security; David C.
23   LIVINGSTON, Sheriff, Contra Costa County;
     Kristi BUTTERFIELD, Facility Commander,
24   West County Detention Facility; Contra Costa
     County
25
26
     Defendants.
27
28

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 1     I.   INTRODUCTION
 2          Plaintiffs-Petitioners Esteban Aleman Gonzalez (“Mr. Aleman Gonzalez”) and Jose
 3   Eduardo Gutierrez Sanchez (“Mr. Gutierrez Sanchez”) along with all putative class members
 4   (collectively, “Plaintiffs”) are being detained in clear violation of the law. Neither the
 5   Immigration and Nationality Act nor the Constitution authorizes Plaintiffs’ prolonged detention
 6   without a bond hearing before an Immigration Judge (“IJ”). To the contrary, both mandate that
 7   Plaintiffs receive a bond hearing before an IJ after 180 days in detention, at which point the
 8   government must justify their continued detention on danger or flight risk grounds by clear and
 9   convincing evidence. See Diouf v. Napolitano (“Diouf II”), 634 F.3d 1081 (9th Cir. 2011).
10          Nonetheless, Defendants continue to detain Plaintiffs based on a blatant misreading of the
11   law. In their opposition to Plaintiffs’ motion for a preliminary injunction, Defendants offer little
12   in the way of any substantive defense of their actions. They misread the effect of Jennings v.
13   Rodriguez, 138 S. Ct. 830 (2018) which, contrary to the Defendants’ arguments, strengthens
14   Diouf II’s interpretation of 8 U.S.C. § 1231(a)(6) and therefore Plaintiffs’ statutory claims. With
15   respect to Plaintiffs’ constitutional claim, Defendants fundamentally misunderstand the
16   governing legal standard by conflating Plaintiffs’ claim for a bond hearing in cases of prolonged
17   detention with Zadvydas’ prohibition on indefinite detention. Because Defendants’ arguments
18   are meritless, this court should grant Plaintiffs’ motion for a preliminary injunction.
19    II.   PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
            CLAIMS
20
                A. Diouf II is Binding on this Court, and Therefore Plaintiffs are Likely to
21                 Succeed on Their Claim that the Statute Mandates Bond Hearings. Diouf II
                   Remains Good Law Following Jennings, as Every Court to Have Considered
22                 the Issue has Held.
23          Defendants advance a single argument as to why Plaintiffs are not entitled to bond
24   hearings as a statutory matter: in their view, the Supreme Court’s decision in Jennings overruled
25   Diouf II’s holding that individuals detained under § 1231(a)(6) for six months are entitled to a
26   bond hearing before an IJ. See Def’s Opp., ECF No. 27, at 3-7. In other words, Defendants
27   concede that if Diouf II is still good law, Plaintiffs are entitled to the bond hearings they seek as a
28   statutory matter. Defendants’ arguments that Jennings overruled Diouf II are unavailing, and thus

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 1   this court should conclude that Plaintiffs are likely to succeed on the merits of their claim that
 2   § 1231(a)(6) must be interpreted as requiring bond hearings.
 3          Defendants urge this court to “reject Diouf [II] as having been effectively overruled”
 4   because, as the government argues, it is “clearly irreconcilable” with Jennings. Def’s Opp., ECF
 5   No. 27, at 5 (internal quotation marks and citations omitted). This is incorrect. As six district
 6   courts have now unanimously held, Jennings did not overrule Diouf II.
 7          Contrary to the Government’s arguments, Jennings actually supports Diouf II’s
 8   interpretation of § 1231(a)(6). See Jennings, 138 U.S. at 843-44, 846-47, 850. In ordering that
 9   bond hearings be provided to a class of individuals within the Western District of Washington
10   who are in withholding-only proceedings and subject to prolonged detention, the district court in
11   Banos v. Asher succinctly explained
12                  In Jennings, the Supreme Court reversed the Ninth Circuit’s
                    holding, pursuant to the canon of constitutional avoidance,
13                  regarding §§ 1225(b)(1), 1225(b)(2), and 1226(c). In so concluding,
                    Jennings explicitly contrasted §§ 1225 and 1226—the statutes at
14                  issue in that case—with § 1231(a)(6)—the statute at issue in Diouf
                    II. See 138 S. Ct. at 843-44. For instance, the Supreme Court
15                  recognized that §§ 1225 and 1226 utilize the mandatory language
                    “shall,” whereas § 1231(a)(6) utilizes the discretionary language
16                  “may”; the “may” language in § 1231(a)(6) suggests ambiguity that
                    leaves space for constitutional avoidance. Jennings, 138 S. Ct. at
17                  843.
18                  Thus, Jennings concerns statutes—§§ 1225 and 1226—that were
                    not at issue in Diouf II and are not at issue here. See Jennings, 138
19                  S.Ct. at 843; Diouf II, 634 F.3d at 1086. In fact, Jennings expressly
                    distinguished § 1231(a)(6), the statute at issue here. See Jennings,
20                  138 S.Ct. at 843-44.
21
     No. C16-1454JLR, 2018 WL 1617706, at *1–2 (W.D. Wash. Apr. 4, 2018). The court in Banos,
22
     therefore, concluded “that Diouf II remains binding law.” Id. Accord Ramos v. Sessions, 293 F.
23
     Supp. 3d 1021, 1027 (N.D. Cal. 2018) (holding that after Jennings, “Diouf [II] remains good law
24
     and is binding on this Court.”); Borjas-Calix v. Sessions, No. CV-16-00685-TUC-DCB, 2018
25
     WL 1428154, at *6 (D. Ariz. Mar. 22, 2018) (explaining that “Plaintiff was detained
26
     under § 1231(a)(6) not § 1225, et seq. Jennings was specifically directed to § 1225, et
27
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 1   seq. Diouf remains good law and is binding on this Court”); Higareda v. Sessions, No. CV-18-
 2   00491-PHX-SPL (DKD), Doc. 20 (D. Ariz. Apr. 5, 2008).
 3          Since Plaintiffs filed their motion for a preliminary injunction, two additional district
 4   courts have squarely held that Diouf II remains good law after Jennings. In Sied v. Nielsen, the
 5   court affirmed that “Jennings’ holding regarding §§ 1225(b), 1226(a), and 1226(c) does not alter
 6   or overrule Diouf’s holding that the government must provide bond hearings to aliens detained
 7   under [§] 1231(a)(6).” No. 17-CV-06785-LB, 2018 WL 1876907, at *5 (N.D. Cal. Apr. 19,
 8   2018). Likewise, in Mercado-Guillen v. Nielsen, the court emphasized that “[t]he Jennings Court
 9   specifically noted the difference between the language in [§] 1231(a)(6) and the language in [§§]
10   1225(b) and 1226(c),” and therefore left Diouf II in place. No. 18-CV-00727-HSG, 2018 WL
11   1876916, at *3 (N.D. Cal. Apr. 19, 2018). Plaintiffs are aware of no court that has agreed with
12   the government’s assertion that Jennings abrogated Diouf II. This court should follow the sound
13   reasoning of the six other district courts, as well as the arguments presented by Plaintiffs in their
14   motion for a preliminary injunction, that Jennings not only does not overrule Diouf II, but rather
15   reinforces its holding.
16          Neither of Defendants’ arguments as to why Diouf II is no longer controlling meet the
17   extremely high burden of demonstrating that Diouf II is “clearly irreconcilable” with Jennings.
18   See U.S. v. Robertson, 875 F.3d 1281, 1291 (9th Cir. 2017); Lair v. Bullock, 697 F.3d 1200, 1207
19   (9th Cir. 2012). Defendants’ primary argument is that because Jennings held that §§ 1225(b) and
20   1226(c) cannot be read to authorize bond hearings, than neither does § 1231(a)(6). Def’s Opp.,
21   ECF No. 27, at 5. To demonstrate this, the government attempts to show similarities between the
22   text of those statutes, and the statute at issue here, § 1231(a)(6). Id. But the government’s
23   arguments are unavailing in light of the Supreme Court’s analysis in Jennings that the language
24   of § 1231(a)(6) allows for the application of the canon of constitutional avoidance while the
25   language of §§ 1225(b) and 1226 does not. The Court found that three different features—the
26   lack of mention of a specific period of time, the use of the word “may,” and the lack of a release
27   provision—all permit a construction of § 1231(a)(6) that imposes a six-month time limitation.
28   See Jennings, 138 S. Ct. at 843-44 (noting the “many ways in which” § 1231(a)(6) “differs

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 1   materially” from §§ 1225(b) and 1226(c)); see also Mot’n for Preliminary Injunction, ECF No.
 2   22, at 12-13, 15.
 3          Second, Defendants argue that Diouf II is “clearly irreconcilable” with Jennings because
 4   Diouf II “extended the procedural protections established” in Casas-Castrillon v. DHS, 535 F.3d
 5   942 (9th Cir. 2008) (“Casas”), which the government contends was abrogated by Jennings. Def’s
 6   Opp., ECF No. 27, at 6 (quoting Rodriguez v. Robbins, 804 F.3d 1060 (9th Cir. 2015)
 7   (“Rodriguez III”)). Here again, the Government misreads the governing case law. Diouf II’s
 8   statement that it “extended” the procedural protections from Casas is descriptive—that is, the
 9   Ninth Circuit ordered the same relief for Mr. Diouf as it did for Mr. Casas—and is not affected
10   by Jennings’ legal analysis. As Plaintiffs have previously explained, Diouf II involves the
11   interpretation of § 1231(a)(6). Casas, on the other hand, involves the interpretation of §§ 1226(c)
12   and 1226(a). As a result, whether Casas is overruled with respect to its interpretation of those
13   statutes, 1 is simply not relevant to the issue before this court. Diouf II remains good law,
14   regardless of Jennings’ impact on Casas.
15                                                *    *    *
16          Once this court rejects Defendants’ flawed argument that Diouf II is no longer good law,
17   there is no question that the statute, as interpreted by binding case law, requires Defendants to
18   provide Plaintiffs with bond hearings. Because Diouf II’s “holding applies foursquare” to
19   Plaintiffs, “there is no doubt [they are] entitled to a bond hearing.” Trinidad v. Sessions, No.
20   3:17-CV-06877-JD, 2018 WL 2010618, at *2 (N.D. Cal. Apr. 30, 2018).
21              B. Plaintiffs are Likely to Succeed on Their Claim that They are Entitled to
                   Bond Hearings as a Constitutional Matter
22
23          Defendants’ argument that “Supreme Court authority forecloses Plaintiffs’ Due Process

24   Claim” is based on a fundamental misunderstanding of the nature of Plaintiffs’ constitutional

25   claim. See Def’s Opp., ECF No. 27, at 7. Defendants conflate the concepts of prolonged and

26
     1
       While this court need not reach the issue to conclude that Plaintiffs are entitled to relief under
27
     Diouf II, Defendants are wrong that Jennings overruled Casas. Jennings supports Casas’
28   interpretation that § 1226(c) governs only during administrative proceedings. See Jennings, 138
     S. Ct. at 844, 846.
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 1   indefinite detention, and erroneously assert that Zadvydas’ framework for analyzing when
 2   indefinite detention may be unconstitutional governs Plaintiffs’ claims challenging their
 3   prolonged detention under § 1231(a)(6) without a bond hearing. Governing law establishes two
 4   independent constraints on detention under § 1231(a)(6): Zadvydas prohibits indefinite detention
 5   if an individual’s removal is not “reasonably foreseeable” after six months of post-final order
 6   detention; and, as recognized in Diouf II, due process prohibits prolonged detention without a
 7   hearing on whether an individual’s detention is justified on danger or flight risk grounds. As
 8   several district courts have recently held: “Diouf and Zadvydas do not conflict because they
 9   address parallel, co-existing entitlements.” Trinidad, 2018 WL 2010618, at *2; see also Sied,
10   2018 WL 1876907, at *7; Mercado-Guillen, 2018 WL 1876916, at *3.
11          Defendants incorrectly assert that Zadvydas provides the only framework for asserting a
12   due process challenge to detention under § 1231(a)(6). See Def’s Opp., ECF No. 27, at 7.
13   Zadvydas provides one due process constraint on detention under § 1231(a)(6): that the statute
14   “does not permit indefinite detention.” Zadvydas, 533 U.S. at 682; id. at 691 (“[t]he civil
15   confinement here at issue is not limited, but potentially permanent”). However, it does not
16   provide the only constraint. The Zadvydas framework applies where a noncitizen’s legal claims
17   against deportation have been exhausted, and there is no legal impediment to removal other than
18   that the government cannot, practically speaking, remove the individual. By way of example, this
19   occurs when the country of removal will not accept them, or because their removal is barred by
20   our own laws. Id. When making a claim under Zadvydas, a habeas petitioner is required to show
21   that his “removal is no longer reasonably foreseeable”—that is, that his detention is indefinite,
22   and that he is “stuck in a removable-but-unremovable limbo.” Id. at 699; Prieto-Romero, 534
23   F.3d at 1063. Once a § 1231(a)(6) detainee has made such a showing, he is entitled to the remedy
24   of outright release. Zadvydas, 533 U.S. at 699-700, 701. See also Prieto-Romero, 534 F.3d 1062
25   (a petitioner who makes a Zadvydas showing that there is “no significant likelihood of removal
26   in the reasonably foreseeable future” is “entitled to release”).
27          Plaintiffs’ due process claim is of another ilk. Plaintiffs assert that the Due Process
28   Clause prohibits prolonged detention—i.e., six months or more— under § 1231(a)(6) without a

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 1   bond hearing at which a neutral arbiter can make an individualized determination as to the
 2   detainee’s danger and flight risk. See Mot’n for Preliminary Injunction, ECF No. 22, at 16-17.
 3   Unlike a Zadvydas claimant, Plaintiffs’ due process claim to a bond hearing does not require a
 4   showing that the detainee is “unremovable” and therefore entitled to release, but only that
 5   detention has been prolonged and therefore impermissible without a bond hearing. The purpose
 6   of such a bond hearing is to require the government to demonstrate to a neutral adjudicator that
 7   its purported reasons for detaining the individual are, in fact, valid. As a result, unlike a
 8   Zadvydas claimant, the remedy to which they are entitled is not outright release, but rather, a
 9   bond hearing. See Diouf II, 634 F.3d at 1092.
10          This critical distinction is on full display in the Diouf line of cases, which remain good
11   law in the Ninth Circuit. In Diouf I, Mr. Diouf challenged his detention under Zadvydas as
12   indefinite, but the Ninth Circuit rejected that argument and held that Mr. Diouf, who had been
13   detained for several years while he pursued various legal claims, was not subject to indefinite
14   detention because he failed to demonstrate that there was “no significant likelihood of removal in
15   the reasonably foreseeable future.” 542 F.3d at 1233. Nearly three years later, in Diouf II, Mr.
16   Diouf brought a separate challenge to his detention, and this time the Ninth Circuit held that his
17   “prolonged detention” without a bond hearing raised serious due process concerns, even though
18   he was not entitled to release under Zadvydas. See Diouf II, 634 F.3d at 1091-92; see also Prieto-
19   Romero, 534 F.3d at 1063-64 (distinguishing between indefinite detention and prolonged
20   detention for purposes of analyzing the legality of immigration detention).
21          In order to reach its conclusion that Mr. Diouf was entitled to a bond hearing based on his
22   prolonged detention, the Ninth Circuit conducted a due process analysis to conclude that
23   prolonged detention without a bond hearing raises serious constitutional concerns, underscoring
24   that immigrants’ “liberty interest applies not only to indefinite detention, but also to prolonged
25   detention.” Diouf II, 634 F.3d at 1087 n.8. The court applied the Mathews v. Eldridge, 424 U.S.
26   319 (1976) balancing test to conclude that bond hearings must be provided as a “basic safeguard
27   for noncitizens facing prolonged detention under § 1231(a)(6).” Diouf II, 634 F.3d at 1091-92.
28

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 1          The government’s straw man argument that Plaintiffs show that their removal is not
 2   “reasonably foreseeable” confuses settled precedent. Several district courts have agreed and
 3   rejected the government’s manufactured conflict between the constitutional framework of Diouf
 4   and Zadvydas. In Trinidad, for example, the district court held that the government was “wrong
 5   for several reasons” when it insisted that, in order for an individual in prolonged detention to
 6   obtain a bond hearing, he must meet Zadvydas’ “reasonably foreseeable” standard. 2018 WL
 7   2010618, at *2. The court pointed out that the government’s argument that Diouf II ran afoul of
 8   Zadvydas was illogical, and that a district court “is in no position to ignore circuit authority
 9   issued after a Supreme Court decision,” especially since Diouf II relies extensively on Zadvydas’
10   reasoning. Id. Moreover, the court underscored that Diouf II and Zadvydas constitute two
11   independent and parallel constraints on § 1231(a)(6) detention: while “Zadvydas establishes [an
12   individual’s] right to seek release from civil detention that has become indefinite . . . [i]n
13   complementary fashion, Diouf establishes [an individual’s] right to a bond hearing when he or
14   she is subject to prolonged detention exceeding 180 days.” Id. (internal quotation marks omitted)
15   (emphasis in original). See also Sied, 2018 WL 1876907, at *7 (“Diouf rejected the
16   government’s argument that aliens are entitled to relief only if their detention is “indefinite.”);
17   Mercado-Guillen, 2018 WL 1876916, at *3 (explaining that Zadvydas and Diouf II involve
18   independent inquiries).
19          All Plaintiffs are required to show in order to prevail on their due process claim is that
20   they have been detained for six months or more without a bond hearing before an IJ. See Diouf
21   II, 634 F.3d at 1091-92; see also Mot’n for Preliminary Injunction, ECF No. 22, at 15-17. The
22   government’s attempt to frame Plaintiffs’ claim as a challenge against indefinite detention,
23   instead of prolonged detention, should be dismissed out of hand. Plaintiffs are likely to succeed
24   on the merits of their claim that the Constitution requires they be provided with bond hearings
25   after six months in detention, because once detention is prolonged, an individual’s profound
26   liberty interest requires a hearing before a neutral arbiter. See Tijani v. Willis, 430 F.3d 1241,
27   1242 (9th Cir. 2005); Diop v. ICE/Homeland Sec., 656 F.32 221, 233 (3d Cir. 2011) (finding
28   lengthy detention of noncitizen was “unconstitutionally unreasonable and, therefore, a violation

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 1   of the Due Process Clause”); see also United States v. Salerno, 481 U.S. 739, 750 (1992)
 2   (upholding civil pretrial detention of individuals charged with crimes only upon individualized
 3   findings of dangerousness or flight risk at custody hearings); Foucha v. Louisiana, 504 U.S. 71,
 4   81-83 (1992) (requiring individualized findings of mental illness and dangerousness for civil
 5   commitment); Kansas v. Hendricks, 521 U.S. 346, 357 (1997) (upholding civil commitment of
 6   sex offenders after jury trial on lack of volitional control and dangerousness).
 7              C. Plaintiffs are Entitled to Bond Hearings at Which the Government Bears the
                   Burden of Establishing Danger to the Community or Flight Risk
 8
 9          As Plaintiffs explained in their motion for a preliminary injunction, and Defendants have
10   not disputed, 2 regardless of whether the statute or the Constitution require a bond hearing, due
11   process requires that the government must justify continued detention by clear and convincing
12   evidence. See Diouf II, 634 F.3d at 1090-92; Singh v. Holder, 638 F.3d 1196, 1203-04 (9th Cir.
13   2011). Relying on a myriad of constitutional decisions, the Ninth Circuit explained in Singh, that
14   “given the substantial liberty at stake,” the standard of proof for the government is that it “must
15   prove by clear and convincing evidence that a[] [noncitizen] is a flight risk or danger to the
16   community to justify denial of bond.” Singh, 638 F.3d at 1203 (citing Addington v. Texas, 441
17   U.S. 418 (1979); Cooper v. Oklahoma, 517 U.S. 348 (1996); Foucha v. Louisiana, 504 U.S. 71
18   (1992); Santosky v. Kramer, 455 U.S. 745 (1982)).
19   III.   DEFENDANTS DO NOT CONTEST THAT PLAINTIFFS HAVE MET THE
            OTHER WINTER FACTORS, SO A PRELIMINARY INJUNCTION SHOULD
20          ISSUE
21
            Defendants do not contest that Plaintiffs are likely to suffer irreparable harm in the
22
     absence of preliminary relief or that the balance of equities tips in Plaintiffs’ favor. See Winter v.
23
     Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The only other Winter factor that
24
     Defendants contest is whether an injunction is in the public interest. While Defendants argue that
25
     “the public interest favors applying federal law correctly,” Def’s Opp., ECF No. 27, at 8 (quoting
26
     Small v. Avanti Health Sys., LLC, 661 F.3d 1180, 1197 (9th Cir. 2011), Plaintiffs are seeking an
27
28   2 As Defendants have not contested Plaintiffs’ arguments with respect to this issue, it has waived
     the opportunity to do so.
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 1   injunction to effectuate that and enjoin the government’s illegal actions. Accordingly, this court
 2   should grant Plaintiffs’ motion for a preliminary injunction.
 3   IV.    CONCLUSION
 4          For the above reasons, and the reasons set forth in Plaintiffs’ preliminary injunction
 5   motion, this court should grant Plaintiff’s a class-wide preliminary injunction requiring all
 6   Immigration Judges within the Ninth Circuit to conduct individualized bond hearings at six
 7   months of detention for class members, at which the individual is entitled to be released unless
 8   the government establishes, by clear and convincing evidence, that the individual is a flight risk
 9   or a danger to the community.
10
11   Dated: May 17, 2018                           Respectfully submitted,
12
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